           Case 20-02662-7                 Filed 05/27/20             Entered 05/27/20 01:16:59                     Doc 1-7         Pg. 1 of 1




 Fill in this information to identify the case:

               California International Business University
 'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                        Southern
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBBBBBBBBBBBBBB 'LVWULFWRI CA
                                                                             BBBBBBB
                                                                              6WDWH 
 &DVHQXPEHU ,INQRZQ  BBBBBBBBBBBBBBBBBBBBBBBBB                          7
                                                                    &KDSWHU BBBBB



                                                                                                                                       &KHFNLIWKLVLVDQ
                                                                                                                                           DPHQGHGILOLQJ

2IILFLDO)RUP*
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        1R&KHFNWKLVER[DQGILOHWKLVIRUPZLWKWKHFRXUWZLWKWKHGHEWRU¶VRWKHUVFKHGXOHV7KHUHLVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
       ✔  <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZHYHQLIWKHFRQWUDFWVRUOHDVHVDUHOLVWHGRQSchedule A/B: Assets - Real and Personal Property
                                                                                                                                                      2IILFLDO
       )RUP$% 
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or        Office (classrooms, admin.).
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              Lessor: Five 50 Partners, LLC. Debtor has
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.1     lease is for and the nature      Debtor has terminated contract.                    terminated contract. It is possible Lessor will dispute
         of the debtor’s interest         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                             validity of termination and claim damages equal to
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining         Until March 31, 2026
                                         ____________________________________                diff. btw. remaining rent under contract and rent
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of                                                         obtainable by releasing to new tenant.
         any government contract        ____________________________________                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or        Temporary housing/student apt.
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               Lessor: Vantaggio Suites Gas Lamp, LLC, 1736
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.2     lease is for and the nature
         of the debtor’s interest
                                          Debtor has terminated contract.
                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                State Street, San Diego, CA 92101. It is possible
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                             Lessor will dispute validity of termination and claim
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining         Until May 24, 2020.
                                         ____________________________________                damages equal to diff. btw. remaining rent under
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of                                                         contract and rent obtainable by releasing.
         any government contract        ____________________________________                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.3     lease is for and the nature
         of the debtor’s interest         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.4
         lease is for and the nature
         of the debtor’s interest         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


         State what the contract or       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
 2.5     lease is for and the nature
         of the debtor’s interest         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         State the term remaining        ____________________________________
                                                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         List the contract number of
         any government contract        ____________________________________                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                        




2IILFLDO)RUP*                         Schedule G: Executory Contracts and Unexpired Leases                                            SDJHRIBBB
